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                                           STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL

     LETITIA JAMES                                                                     DIVISION OF STATE COUNSEL
    ATTORNEY GENERAL                                                                        LITIGATION BUREAU



                                                   July 19, 2023
BY ECF
Hon. Philip M. Halpern
United States District Court, Southern District of New York
300 Quarropas Street, Room 530
White Plains, New York 10601

                  Re:      Rodriguez v. Burnett et al., 22 Civ. 10056 (PMH)

Dear Judge Halpern:                 Defendants' request for leave to move to dismiss Plaintiff's Complaint
                                    is granted. In light of Plaintiff's pro se status, the Court's pre-motion
         This Office represents def conference requirement is hereby waived.

Davachi (A/K/A Davachi Sullivan Defendants shall serve and file their notice of motion and opening brief
                                  by September 12, 2023; Plaintiff shall file his opposition brief by
                                  October 12, 2023; Defendants shall serve and file their reply brief by
Vincente Santiago, Carlton Garret October 26, 2023.

Crofoot, Christopher Ciaccio and Defendants are directed to serve a copy of this order on Plaintiff and
                                            file proof of service on the docket.
accordance with the Court’s Indiv
                                            The Clerk of the Court is respectfully directed to terminate the motion
                                            sequence pending at Doc. 24.
conference in anticipation of filing a

pre-motion letter is being filed subs SO ORDERED.

Defendants that occurred pursuant t
                                            _______________________
                                            Philip M. Halpern
                                            United States District Judge

                                            Dated: White Plains, New York
                                                   July 27, 2023


1
  Upon information and belief, the following named defendants remain unserved at the time of this letter’s filing:
Stephen Urbanski, Akinola Akinyombo, Mohammad Bhuiyan, Oujas Gifty, Johnathon Franco, Shawn Hanley, Alexis
Cherry, Jan Okusko, and Aleshia Rose (“Unserved Defendants”). This letter is not written on their behalf. However,
to the extent this Court makes a ruling on the proposed motion to dismiss based on this letter pursuant to Section 2(C)
of your Individual Rules, this Office respectfully requests that the Court, sua sponte, review the personal involvement
of the Unserved Defendants in this matter under 28 U.S.C. § 1915A(b).

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   I.        Relevant Allegations

          Plaintiff Ralph Rodriguez (“Plaintiff”) is an incarcerated individual at Fishkill Correctional

Facility (“Fishkill CF”). Plaintiff’s Complaint (“Comp.” or “Rodriguez II”) (Dkt. No. 2) alleges

causes of action originating from an alleged use of excessive force on Plaintiff by members of a

DOCCS Correctional Emergency Response Team (“C.E.R.T”) at Fishkill CF on December 30,

2021. Compl., p. 22, ¶ 13. These include claims of excessive force against the C.E.R.T team

members, failure to intervene by investigators with the DOCCS Office of Special Investigators

(“OSI”) and at least one correction officer, and deliberate indifference to the use of excessive force

by supervisory DOCCS employees. Compl., pp. 22–26. Plaintiff also seemingly brings claims of

deliberate indifference to his medical needs (Compl., pp. 26–30), and conspiracy to deprive him

of adequate recourse for the actions that took place on December 30, 2021 by, in part, not

adequately addressing his grievances. Compl., pp. 29, 34–35, 37. None of these allegations state a

claim on which relief can be granted and, therefore, Plaintiff’s Complaint should be dismissed.

   II.       Legal Standard

          In determining the facial sufficiency or plausibility of a claim, only the well pleaded factual

allegations are entitled to the assumption of truth, not conclusions of law or other conclusory

allegations. See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). Where Plaintiff here pleads factual

allegations—as opposed to conclusions of law and conclusory allegations—he fails to make clear

which allegations are made against which party, or repeats claims made in prior lawsuits. For these

reasons, the Complaint in its current form should be dismissed.

   III.      Personal Involvement - Group Pleading

          As an initial matter, Plaintiff fails to sufficiently plead the personal involvement of

defendants in his alleged constitutional deprivations, instead relying on impermissible group



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pleading. It is well settled that the “personal involvement of defendants in alleged constitutional

deprivations is a prerequisite to an award of damages under § 1983.” Wright v. Smith, 21 F.3d

496, 501 (2d Cir. 1994) (internal citations omitted). “Group pleading” against defendants fails to

satisfy the requirement of personal involvement, as it “fails to differentiate as to which defendant

was involved in the alleged unlawful conduct [and] are insufficient to state a claim.” Adamou v.

Cnty. of Spotsylvania, Va., No. 12 Civ. 7789, 2016 WL 1064608, at *11 (S.D.N.Y. Mar. 14,

2016) 2 (citing Autuahene v. City of Hartford, 10 Fed. Appx. 33, 34 (2d Cir. 2001) (complaint

cannot “lump all the defendants together in each claim and provide no factual basis to distinguish

their conduct.”); Leneau v. Ponte, No. 16 Civ. 776, 2018 WL 566456, *15 (S.D.N.Y Jan. 25, 2018)

(“complaints that rely on group pleading and fail to differentiate as to which defendant was

involved in the alleged unlawful conduct are insufficient to state a claim”).

          Throughout the Complaint, Plaintiff simply identifies “defendants” rather than

particularizes which individual defendant is responsible for which Constitutional deprivation. See,

e.g., Compl. ¶ 62 (“Defendants also ‘failed to protect,’ plaintiff because prior C.E.R.T entering the

housing unit 9-1, they already went through a number of housing unit …”); ¶ 76 (“[t]he policy

created by defendants authorizes C.E.R.T. to enter into prison facility . . .”). Distinguishing which

allegations are made against which defendants is particularly important here where Plaintiff names

over twenty defendants in his Complaint. See Compl. ¶¶ 3 – 4. Accordingly, the Complaint in its

current form should be amended or dismissed in its entirety for the failure to properly state a claim.

    IV.      Personal Involvement–Generally

          Relatedly, Plaintiff’s claims against several defendants, such as Defendants Mitchell,

Akinyombo, and Reams, fail to sufficiently plead their personal involvement in any of the events


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 Unpublished decisions, including those cited in this pre-motion conference letter, were sent to Plaintiff with Served
Defendants’ letter, in accordance with Your Honor’s Individual Rules.

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within Plaintiff’s Complaint. Personal involvement “requires a showing of more than the linkage

in the prison chain of command; the doctrine of respondeat superior does not apply.” Ayers v.

Coughlin, 780 F.2d 205, 210 (2d Cir. 1985). “[T]here is no special rule for supervisory liability.

Instead, a plaintiff must plead and prove ‘that each Government-official defendant, through the

official’s own individual actions, has violated the Constitution.’” Tangreti v. Bachmann, 983 F.3d

609, 618 (2d Cir. 2020) (quoting Iqbal, 556 U.S. at 676). In his Complaint, Plaintiff identifies

Defendant “John Doe #1” (later determined to be Robert Mitchell 3) as “Director of C.E.R.T” under

the subheading “DEFENDANTS” but then fails to make any allegations of personal involvement

against him, even under the subheading “supervisor liability.” See Compl., ¶¶ 67–69. Similarly,

Plaintiff claims he “wrote to [Defendant Akinyombo, Deputy Superintendent of Health Services]

informing him of the lack of medical care given. . . and he still did nothing to assist.” Compl., ¶

55. This type of vague, indirect allegation fails to demonstrate the personal involvement of

Defendant Akinyombo in Plaintiff’s alleged constitutional deprivation, as respondent superior fails

to suffice as a theory of liability. See Tangreti, 983 F.3d at 618. Lastly, Defendant Reams appears

to only be named in Plaintiff’s Complaint because she oversaw the grievance system at Fishkill,

which Plaintiff claims was “inadequate” and evidence that Defendants “conspired to stop

plaintiff’s attempts to acquire information.” Compl., ¶¶ 48–51, 73. Not only does this allegation

fail to demonstrate Defendant Reams’s personal involvement in Plaintiff’s alleged injuries, but it

fails as a matter of law, as there are no recognized claims for failing to investigate complaints or

for mishandling grievances. See Cancel v. Goord, No. 00 Civ. 2042, 2001 WL 303713, at *3

(S.D.N.Y. Mar. 29, 2001). Nor are intra-corporate conspiracy claims recognized as viable causes

of action. Little v. City of New York, 487 F. Supp. 2d 426, 442 (S.D.N.Y. 2007) (dismissing


3
 Plaintiff identifies the Director of C.E.R.T as “John Doe #1” and Defendants subsequently revealed his identity to
be Robert Marshall in a response to this Court’s Valentin Order (Dkt. Nos. 6, 9).

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conspiracy claims under the intra-corporate doctrine) (internal citation omitted). As a result, these

claims should be dismissed.

    V.      Duplicative Litigation/Res Judicata

         Plaintiff’s claims regarding the deliberate indifference to his medical needs also fail as

duplicative of prior litigation, to wit: Rodriguez v. Burnett, 22 Civ. 2198 (“Rodriguez I”). A court

may dismiss an action that is duplicative of another, previously filed suit. Curtis v. Citibank, N.A.,

226 F.3d 133, 138 (2d Cir. 2000). A plaintiff has “no right to maintain two actions on the same

subject in the same court, against the same defendant at the same time.” Curtis, 226 F.3d at 139.

         In Rodriguez I, Plaintiff alleged that Defendant Sullivan was deliberately indifferent to his

medical requests, including certain pain medication, physical therapy, and his request for an egg

crate mattress. In this action, Plaintiff claims that Defendant Sullivan, among other defendants,

generally provided “inadequate medical care” by failing to provide “pain medication consistent

with the severity of injuries” and that Defendant Sullivan “refuse[ed] to provide plaintiff with an

extra mat or egg crate.” Compl., ¶ 55. The allegations in Rodriguez II are duplicative of the claims

he made in Rodriguez I. Plaintiff also purportedly attempts to claim Defendants failed to provide

reasonable accommodations to him under the ADA and Section 504 of the Rehab Act. Compl., pp.

64–66. Not only was this allegation previously made in Rodriguez I, but it was dismissed in this

Court’s June 7, 2023 Opinion and Order. See Rodriguez I, 2023 U.S. Dist. LEXIS 99666, *13–14,

22 Civ. 2198 (S.D.N.Y. June 7, 2023). Accordingly, Plaintiff’s claim that defendants failed to

provide him reasonable accommodations should be dismissed under the related theory of res

judicata. Flaherty v. Lang, 199 F.3d 607, 612 (2d Cir. 1999) (“a final judgment on the merits of

an action precludes the parties or their privies from relitigating issues that were or could have been

raised in that action”).



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       Accordingly, Defendants respectfully request a pre-motion conference for the reasons

stated herein or, alternatively, a briefing schedule, on the proposed motion to dismiss. Defendants

respectfully propose the following briefing schedule if a pre-motion conference is waived by the

Court: Defendants’ Motion to be filed by September 12, 2023; Plaintiff’s Opposition to be filed

by October 12, 2023; and Defendants’ Reply, if any, to be filed by October 26, 2023.


                                                     Respectfully submitted,

                                                     /s/ Andrew Blancato
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cc:    Ralph Rodriguez
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